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                                  IN THE UNiTED STATES DISTRIU                    Ai fl: QL
                                FOR THE SOUTHERN DISTRICT OF GEORGJ4
                                          WAYCROSS DI VISION .
                                                                         50. DIST. OF GA.



              UNITED STATES OF AMERICA

                           V.                                      CASE NO.: CR508-16

              ANDREW C. HOLT
              AMANDA J. COSGROVE
              MATTHEW L. BLACK


                                                   ORDER


                    Defendant Matthew L. Black has filed a Motion to Exclude Amanda J. Cosgrove's
              Statements. The admissibihty of such evidence will be determined by the Court at triaL
                                           /
                    SO ORDERED, this / 2- day of November, 2008.




                                                               MES E. GRAHAM
                                                              NITED STATES MAGISTRATE JUDGE




A072A
(Rev. 8/82)
